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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ZHU ZHAI HOLDINGS LIMITED and                  )
PETER PUI TAK LEE,                             )
                                               ) Case No. 20-cv-04985
       Plaintiffs/Judgement Creditors,         )
                                               ) Judge Sharon Johnson Coleman
       v.                                      )
                                               ) Hon Sidney I. Schenkier (Ret.),
STEVEN IVANKOVICH,                             )   Special Master
                                               )
       Defendant/Judgement Debtor              )

                             SPECIAL MASTER’S ORDER NO. 4

       On April 21, 2024, the Third Party LLCs filed a motion asking that the Intervenor Jeanette

Ivankovich be required to pay a pro rata share of the costs of the Special Master. In Special

Master’s Order No. 3, dated May 1, 2024, the Special Master ordered Ms. Ivankovich to file an in

forma pauperis application to support her position that the motion should be denied. Ms.

Ivankovich filed the required application on May 8, 2024. The Arbitrator has reviewed the

application and concludes that at the present time Ms. Ivankovich should be permitted to

participate in the proceedings without sharing in the cost of the Special Master. As a result, the

motion by the Third Party LLCs is denied without prejudice. The Special Master’s ruling is based

on the information presently before him, and Ms. Ivankovich has a duty to advise the Special

Master of any changes in her financial status that would bear on her ability to contribute to the cost

of this proceeding.

Entered:

___________________________________
HON. SIDNEY I. SCHENKIER (RET.)
Special Master
May 14, 2024
